                       Case 7:16-cv-06792-VB Document 233 Filed 06/17/19 Page 1 of 2




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                                                                 June 17, 2019

           By ECF

           Honorable Vincent L. Briccetti
           United States District Judge
           United States District Court for the Southern
           District of New York
           300 Quarropas St.
           White Plains, NY 10601



                              Re:        In re Welspun Litigation, Case No. 16 CV 06792 (VB)

          Dear Judge Briccetti:

                  The undersigned counsel for the Defendants in this action submit this Letter Motion to
          request an extension from June 17, 2019 to July 8, 2019 of each Defendant’s time to file an answer
          with any affirmative defenses to the surviving claims in the CSAC. Plaintiffs consent to this
          request, as indicated in the Stipulated Agreement and [Proposed] Order that is an exhibit to this
          Letter Motion.

                  This request is being sought in light of the parties’ continued discussions to resolve
          Plaintiffs’ issues regarding the settlement in Hansen-Mitchell, et al. v. Welspun USA Inc., et al.,
          Case No. 19 L 391, currently pending in the Circuit Court of Illinois, 20th Judicial Circuit, St.
          Clair County, Illinois. These discussions about the Hansen-Mitchell action could not only resolve
          Plaintiffs’ concerns about that action, but also obviate the need for answers to be filed in this action.
          This is the second request for an extension of Defendants’ time to answer the CSAC; the Court
          previously granted Defendants’ first request for extension on May 29, 2019, which was requested
          due to the numerous allegations in the CSAC.

                    Thank you for Your Honor’s consideration of this matter.




Boston    Beijing   Chicago   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   Palo Alto   San Francisco    Shanghai   Washington, D.C.
         Case 7:16-cv-06792-VB Document 233 Filed 06/17/19 Page 2 of 2




Honorable Judge Vincent L. Briccetti
June 17, 2019
Page 2


 Respectfully submitted,

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